Case 2:96-cV-02520-.]PI\/| Document 844 Filed 06/30/05 Page 1 of 3 Page|D 1634-

UNITED sTATEs DISTRICT coURT HLE°°’-V_ o.¢.
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DA.RIUS D. LITTLE, J`UDGMENT IN A CIVIL CASE

Plaintiff,
vi
SI'IELBY COIJNTY.r TENNESSEE, CASE NO: 96-2520 Ml
et al.,

Defendants.

J'UDGN.|ENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS TI'IEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance
with the Consent Order Adopting Recommendations of Special Master,
Final Order Granting Injunctive Relief as to Conditions in the
Shelby County Jail, entered November 26, 1999; Opinion Finding
Defendants in Contempt of Court, entered December 22, 2000; and
Order and Opinion Purging Defendants of Contempt, entered June 16,
2005, this case is DISMISSED.

APPROVED :

,.Q. mm

JO P. MCCALLA
ITED STATES DISTRIC'T JUDGE

 

 

 

 

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DATE Clerk of Court
Th'rs document entered on the docket sheet ln compl|ance (B D#;uty C]jerk

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Notice of Distribution

This notice confirms a copy of the document docketed as number 844 in
case 2:96-CV-02520 Was distributed by faX, mail, or direct printing on
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US DISTRICT COURT

